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§ASTERN DrvrsroN »\ -<z-;» »:z;, “'”"‘
UNITED STATES OF AMERICA,
Plaintiff,
VS. NO. 02-10035-T-An

WILLIAM KEITH W]LSON,

\-,/\_/\-,/\-_/\_/\_/\_/\-,/\_/

Defendant.

 

ORDER DENYING MOTION FOR EXCESS COMPENSATION

 

On April 26, 2005, Defendant’s court-appointed attorney filed a motion for
compensation in excess of the maximum amount provided by the Criminal Justice Act, 18
U.S.C. § 3006(A)(d)(3). The Act provides that a court may award compensation in excess
of the statutory limits "for extended or complex representation Whenever the court in Which
the representation Was rendered . . . certifies that the amount of the excess payment is
necessary to provide fair compensation and the payment is approved by the chief judge of
the circuit." Ld.

Defense counsel has requested slightly more than 357,100 in attorney fees. As of
December 31, 2004, the maximum amount that can be paid to court-appointed attorneys,

Without certification by the district court and approval by the chief judge of the circuit, is

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$7,000.] Although the court is aware of the difficulties that defense counsel encountered
in defending this matter and is appreciative of defense counsel’s efforts, the court finds that
the statutory amount of $7,000 is adequate compensation Consequently, the motion for

excess compensation is DENIED.

IT IS SO ORDERED.

 

 

UN TED STATES DISTRICT JUDGE

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l Maximum amounts.--For representation of a defendant before the United States magistrate judge or the
district court, or both, the compensation to be paid to an attorney or to a bar association or legal aid agency or
community defender organization shall not exceed $7,000 for each attorney in a case in which one or more felonies
are charged, and $2,000 for each attorney in a case in which only misdemeanors are charged 18 U.S.C. §

3006A(d)(2).

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 150 in
case l:02-CR-10035 vvas distributed by fax, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

Victor Lee lvy

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Honorable J ames Todd
US DISTRICT COURT

